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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


EVANGELINE GEORGINA MARTINEZ,

               Plaintiff,

       vs.                                     C. A. No.: 1:21-cv-00331-SMV

COMMISSIONER OF
SOCIAL SECURITY,

               Defendant.

                                        ORDER


       And now this 22nd day of November, 2021, it is hereby ORDERED that Plaintiff’s

Motion To Exceed the Page Limit at Doc. 19 is GRANTED.



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                                               STEPHAN M. VIDMAR
                                               United States Magistrate Judge

Respectfully submitted,

By:    /s/ Karl. E. Osterhout
KARL E. OSTERHOUT
Attorney for Plaintiff

Electronically approved on 11/22/21
By: s/Marc Thayne Warner
MARC THAYNE WARNER
Attorney for Defendant




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